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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION



CARL J. PAYNE                                                                  PLAINTIFF

v.                                CASE NO. 2:19-CV-2149

ANDREW M. SAUL, Commissioner,
Social Security Administration                                                 DEFENDANT



                                          ORDER

       The Court has received proposed findings and recommendations (Doc. 19) from United

States Magistrate Judge Mark E. Ford. There have been no objections. After careful review, the

Court concludes that the findings and recommendations should be, and hereby are, approved and

adopted as this Court’s findings in all respects in their entirety. Judgment will be entered

accordingly.

       IT IS SO ORDERED this October 19, 2020.



                                           /s/P. K. Holmes III
                                           P. K. HOLMES III
                                           U.S. DISTRICT JUDGE
